     Case 3:19-cv-00219-M Document 16 Filed 04/29/19                                Page 1 of 11 PageID 293


                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

MA LEG PARTNERS 1,                                       §
                                                         §
                            Plaintiff,                   §
                                                         §
v.                                                       §         Civil Action No. 3:19-cv-00219-M
                                                         §
CITY OF DALLAS                                           §
                            Defendants                   §

      DEFENDANT CITY OF DALLAS’S REPLY TO PLAINTIFF’S RESPONSE TO
      DEFENDANT CITY OF DALLAS’S MOTION TO DISMISS COMPLAINT FOR
                       FAILURE TO STATE A CLAIM

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         Defendant, City of Dallas (the “City”), files this reply to Plaintiff’s response to Defendant

City of Dallas’s Motion to Dismiss Complaint for Failure to State a Claim and would respectfully

show the Court the following:

                                       I.        Argument and Authorities

         A. Plaintiff fails to state a claim under the Fourth Amendment.

         Plaintiff fails to plead sufficient facts to state a claim for relief under the Fourth

Amendment.1 Specifically, Plaintiff fails to allege it was subject to a search or seizure and fails to

allege it had a reasonable expectation of privacy in the information requested in the application.

Plaintiff argues extensively in its response that it could be injured by future enforcement actions

under Chapter 27. However, this allegation is not sufficient to state a claim under the Fourth

Amendment. See Ristow v. Hansen, 719 F. App'x 359, 363 (5th Cir. 2018) (rejecting argument that


1
  The City also asserts that Plaintiff fails to demonstrate it has standing under the Fourth Amendment. However,
Plaintiff’s failure to demonstrate standing also shows it failed to state a claim for relief. See Rakas v. Illinois, 439 U.S.
128, 143–44 (1978) (stating that there is no useful analytical purpose to be served by considering a matter of standing
distinct from the merits of a defendant's Fourth Amendment claim); United States v. Pack, 612 F.3d 341, 349 (5th
Cir.), opinion modified on denial of reh'g, 622 F.3d 383 (5th Cir. 2010).
                                                             1
   Case 3:19-cv-00219-M Document 16 Filed 04/29/19                  Page 2 of 11 PageID 294


threatened arrest constituted a Fourth Amendment violation); Cty. of Sacramento v. Lewis, 523

U.S. 833, 843-844 (1998) (rejecting argument that an attempted seizure constitutes a search or

seizure).

       “‘The Fourth Amendment covers only “searches and seizures...’” Cty. of Sacramento v.

Lewis, 523 U.S. at, 843. In order to state a claim for a violation of its Fourth Amendment rights,

Plaintiff must allege it was subjected to a search or seizure of material in which it has a reasonable

expectation of privacy. See Rakas, 439 U.S. at 143–44; Elizondo v. Royalty Metal Furnishing,

Inc., No. CIV.A. H-13-1631, 2013 WL 5817568, at *3 (S.D. Tex. Oct. 29, 2013) (“Plaintiffs have

not alleged that any agent of the City engaged in a search or seizure of their persons or property…

and therefore Plaintiffs fail to state a claim under the Fourth Amendment.”); Steele v. Police Dep't

of Oakdale, No. CIV.A. 1:08-CV-01947, 2010 WL 816177, at *4 (W.D. La. Mar. 9, 2010)(finding

plaintiff failed to state a Fourth Amendment claim when “…no searches or seizures were

performed, and no warrants were executed …”). The City did not search Plaintiff or seize any

information from it and Plaintiff did not provide any information to the City. Therefore, Plaintiff

has not alleged it was subjected to a search or seizure by the City and fails to state this basic

requirement for a Fourth Amendment claim.

       Plaintiff also fails to demonstrate it has a reasonable expectation of privacy in any of the

information requested in the City’s application. See Childress v. Watkins, No. 5:14-CV-748-DAE,

2014 WL 4274311, at *4 (W.D. Tex. Aug. 28, 2014) (plaintiff failed to state a claim when plaintiff

had no reasonable expectation of privacy in the area searched and “thus did not suffer any invasion

of his Fourth Amendment rights.”); Patel v. City of Montclair, 798 F.3d 895, 897–98 (9th Cir.

2015) (finding plaintiff failed to state claim for Fourth Amendment violation when he failed to

contend he had a reasonable expectation of privacy); Griggs v. City of Gadsden Revenue Dep't,

                                                  2
  Case 3:19-cv-00219-M Document 16 Filed 04/29/19                   Page 3 of 11 PageID 295


No. MC-07-BE-1127-E, 2008 WL 11447873, at *5 (N.D. Ala. Sept. 17, 2008), aff'd, 327 F. App'x

186 (11th Cir. 2009)

       Plaintiff complains the City’s application form violates its Fourth Amendment rights by

requesting six pieces of information that Plaintiff deems objectionable. However, as addressed in

more detail in the City’s Brief in Support of its Motion to Dismiss for Failure to State a Claim and

the City’s Reply to Plaintiff’s Response to the City of Dallas’s Motion to Dismiss for Lack of

Subject Matter Jurisdiction, Plaintiff fails to identify a reasonable expectation of privacy in any of

these items.

       Plaintiff relies on Dearmore v. City of Garland and Gem Financial Services v. City of New

York in support of its argument that it has a reasonable expectation of privacy in these items. In

Dearmore, the court enjoined the City of Garland from enforcing an ordinance that required a

person renting property to allow a warrantless inspection of the property as a condition of issuing

a permit and penalized a person for refusing an inspection. Dearmore v. City of Garland, 400

F.Supp.2d 894, 900 (N.D. Tex. 2005). Neither condition applies to Plaintiff’s claims against the

City, which concern information requested in an application form and not a warrantless search.

Indeed, the City’s ordinance requires the City to obtain consent or an administrative search warrant

for an inspection. See Dallas, Tex. Code §§ §27-5(b); 27-3.1(c)(1); 27-38(a); (ECF No. 1 at 48,

50, 85). Similarly, Gem Financial involved an ordinance that allowed warrantless searches and

seizures of items from pawn shops. Gem Financial Services, Inc. v. City of New York, 298

F.Supp.2d 464,479-80 (E.D. N.Y. 2018). Accordingly, both cases are quite distinct from the

ordinances at issue and neither case has any bearing on this dispute.




                                                  3
   Case 3:19-cv-00219-M Document 16 Filed 04/29/19                   Page 4 of 11 PageID 296


       B. Plaintiff fails to state a compelled speech claim.

       “[T]o state a proper compelled-speech claim, a plaintiff must object to a message conveyed

by the speech he is required to utter.” Cressman v. Thompson, 798 F.3d 938, 961 (10th Cir. 2015).

“[M]erely objecting to the fact that the government has required speech is not enough; instead, a

party must allege some disagreement with the viewpoint conveyed by this speech.” Id. Plaintiff

fails to meet this requirement to state a compelled speech claim because it fails to allege it is being

forced to communicate a message with which it disagrees. Nowhere in its Complaint or Response

does Plaintiff identify or object to any particular message the City allegedly requires it to convey.

Instead, Plaintiff merely objects to the City requesting it speak at all and Plaintiff’s complaint is

insufficient to state a compelled speech claim. Id.; Little Sisters of the Poor Home for the Aged v.

Burwell, 794 F.3d 1151, 1203(10th Cir. 2015) (rejecting a compelled-speech claim because “the

regulations do not require an organization seeking an accommodation to engage in speech it finds

objectionable or would not otherwise express”) vacated and remanded sub nom. Zubik v. Burwell,

––– U.S. ––––, 136 S.Ct. 1557, 1561 (2016).

       The Fifth Circuit recognizes that “the right not to speak has been limited to the context of

government-compelled speech with respect to a particular political or ideological message.”

Alexander v. City of Round Rock, 854 F.3d 298, 308 (5th Cir. 2017); United States v. Arnold, 740

F.3d 1032 (5th Cir. 2014) (sex offender registration requirement did not violate compelled speech

doctrine because it did not require him to “(a) affirm a religious, political, or ideological belief he

disagree[d] with or (b) to be a moving billboard for a governmental ideological message.”); see

also Rumsfeld v. Forum for Academic and Institutional Rights, Inc., 547 U.S. 47, 62 (2006).

       Plaintiff relies on an unpublished case from the Eastern District of Texas, Associated

Builders and Contractors of Southeast Texas v. Rung. Associated Builders & Contractors of Se.

                                                  4
    Case 3:19-cv-00219-M Document 16 Filed 04/29/19                             Page 5 of 11 PageID 297


Texas v. Rung, No. 1:16-CV-425, 2016 WL 8188655, at *8 (E.D. Tex. Oct. 24, 2016) to support

its argument that the compelled speech doctrine applies. However, unlike the regulation in

Associated Builders, the City does not require Plaintiff to engage in public speech of any kind and

it does not require Plaintiff to communicate the controversial opinions and allegations of others

against Plaintiff. Instead, the City merely requires the applicant to provide basic information to

verify its eligibility for the program.2 The application requires only that the applicant provide basic

factual information and execute an affidavit that verifies the property is currently in compliance

with zoning laws. None of these requirements compel the applicant to engage in public speech and

none of the matters requested concern “matters of considerable controversy adversely affecting

their public reputations.” Id.

         In Morales v. Daley, the court considered whether the requirement to disclose demographic

data in a census form constitutes compelled speech. Morales v. Daley, 116 F. Supp. 2d 801, 816

(S.D. Tex. 2000). The court held the compelled speech doctrine did not apply because “[s]ince it

is only information being sought, and plaintiffs are not being asked ‘to disseminate publicly a

message with which [they] disagree [ ],’ the First Amendment protection against compelled speech

does not prevent the government from requiring the plaintiffs to answer these questions.” Id. at

816. Other courts have similarly rejected the application of the compelled speech doctrine when

the government seeks basic information from citizens and does not require them to make public

disclosures. See United States v. Sindel, 53 F.3d 874 (8th Cir.1995) (rejecting claim that

requirement to provide information in an IRS form is compelled speech); McCann v. Texas, No.

3:16-CV-335, 2017 WL 2799867, at *2, note 3 (S.D. Tex. June 27, 2017) (rejecting application of


2
 Plaintiff complains about the City referring to the rental property registration as a program but, as shown in Exhibit
C of Plaintiff’s Complaint, the City’s Registration Guide specifically refers to the Chapter 27 requirements as the
“Single Family Rental Registration Program.” (ECF No. 1 at 8, 99, 102, 104).
                                                          5
    Case 3:19-cv-00219-M Document 16 Filed 04/29/19                            Page 6 of 11 PageID 298


compelled speech where officer asked citizen to provide basic identifying information during a

traffic stop because the individual “was not compelled to publicly disseminate an ideological

message he found repugnant”).

         As in Morales, the City does not ask Plaintiff to disseminate a message with which it

disagrees and it does not require Plaintiff to disclose information about a controversial matter.

Instead, it seeks basic and routine information in an application form. Similarly, in Pharmaceutical

Care Management Ass’n v. Rowe, the First Circuit upheld Maine’s pharmacy disclosure

requirements in a compelled speech challenge. Pharm. Care Mgmt. Ass'n v. Rowe, 429 F.3d 294,

316 (1st Cir. 2005). The court held there is no compelled speech claim for “routine disclosure of

economically significant information designed to forward ordinary regulatory purposes…” The

Court noted “[t]here are literally thousands of similar regulations on the books”3 and “[t]he idea

that these thousands of routine regulations require an extensive First Amendment analysis is

mistaken.” Id. at 316. The City asks for basic information to verify compliance and eligibility for

the rental registration program. It does not force Plaintiff to adopt a viewpoint or message or make

a public disclosure of any kind. Therefore, Plaintiff fails to state a claim under the compelled

speech doctrine.

         Furthermore, the government may condition the grant of a discretionary benefit on a waiver

of rights “if the condition is rationally related to the benefit conferred.” United States v.

Geophysical Corp. of Alaska, 732 F.2d 693, 700 (9th Cir.1984); see also Dolan v. City of

Tigard, 512 U.S. 374, 386 (1994). Even if submitting an application and verification of compliance

with zoning laws were considered to be a waiver of rights, this waiver is rationally related to the


3
 The court cited examples of “product labeling laws, environmental spill reporting, accident reports by common
carriers, SEC reporting as to corporate losses and (most obviously) the requirement to file tax returns to government
units who use the information to the obvious disadvantage of the taxpayer.” Id.
                                                          6
   Case 3:19-cv-00219-M Document 16 Filed 04/29/19                   Page 7 of 11 PageID 299


rental property program. Plaintiff failed to state a claim because it fails to allege this requirement

is not rationally related to the benefit conferred.

        C. Plaintiff fails to state a claim under the equal protection clause.

        To state a claim for a violation of the equal protection clause, Plaintiff must demonstrate

that it has been treated differently due to its membership in a protected class and that the unequal

treatment stemmed from discriminatory intent. Hampton Co. Nat. Sur., LLC v. Tunica County,

Miss., 543 F.3d 221, 228 (5th Cir.2008). Plaintiff failed to allege any fact to support these

requirements. In its reply, Plaintiff asserts it has stated an equal protection claim because “(a) in

Count Five, the inequitable code enforcement policies and practices pursued by the City under

Chapter 27, and (b) in Count Three, the City's director having unilateral authority to require

information and records pursuant to secs. 27-32(a)(8) and 27-32(b)(10) separately from each

owner registering a property.” (ECF No. 14 at 25-26). None of these allegations concern whether

Plaintiff has been treated differently due to its membership in a protected class or whether the

treatment stemmed from discriminatory intent. Indeed, Plaintiff does not even allege it is in a

protected class. Therefore, Plaintiff fails to state a claim under the equal protection clause.

        D. Plaintiff fails to state a claim under the unconstitutional conditions doctrine.

        “[I]n order to assert a claim under the unconstitutional conditions doctrine, a plaintiff must

allege that the government has conditioned receipt of a benefit on the curtailment of the plaintiff's

constitutional rights.” Scahill v. D.C., 271 F. Supp. 3d 216, 227 (D.D.C.), reconsideration denied,

286 F. Supp. 3d 12 (D.D.C. 2017), aff'd in part, rev'd in part, 909 F.3d 1177 (D.C. Cir. 2018, and

aff'd, 909 F.3d 1177 (D.C. Cir. 2018). “[A] plaintiff invoking the doctrine must plausibly allege

that the government's coercive conduct caused it to relinquish a right rooted in the Constitution.

Keystone Montessori Sch. v. Vill. of River Forest, 316 F. Supp. 3d 1061, 1064 (N.D. Ill. 2018).

                                                      7
   Case 3:19-cv-00219-M Document 16 Filed 04/29/19                    Page 8 of 11 PageID 300


Plaintiff fails to state a claim that the City’s application requirement and affirming affidavit require

Plaintiff to waive its constitutional rights.

        Plaintiff argues the “condition” is the City’s requirement that is submit an application

before renting residential property. Plaintiff’s argument presumes, but as detailed above, does not

establish, the application requirement constitutes an unreasonable search and the unconstitutional

conditions doctrine applies. However, the application is not a search or seizure and does not seek

information to which Plaintiff has a reasonable expectation of privacy. Consequently, no predicate

constitutional right was implicated and, by definition, the unconstitutional condition doctrine does

not apply. See Rumsfeld v. Forum for Academic & Institutional Rights, Inc., 547 U.S. 47, 59-60

(2006)(holding that unconstitutional condition doctrine does not apply where the condition sought

to be enjoined can be constitutionally imposed.).

        While Plaintiff asserts, without authority, that it has a constitutional right to rent its

property, the Supreme Court has long held there is no absolute right to rent property. Eiger v.

Garrity, 246 U.S. 97, 102-103 (1918)(“The owner of such building has no absolute right to rent

his property for any and all purposes. The use of property may be regulated under the police power

of the State in the public interest in such manner as to safeguard the health and welfare of the

community”); Buchanan v. Warley, 245 U.S. 60, 74 (1917)(“True it is that dominion over property

springing from ownership is not absolute and unqualified. The disposition and use of property may

be controlled in the exercise of the police power in the interest of the public health, convenience,

or welfare.”). The fact that Plaintiff might have to make a choice between registering its property

or submitting an application that does not implicate Fourth Amendment rights, does not implicate

the unconstitutional conditions doctrine. See, e.g., Gilmore v. Gonzales, 435 F.3d 1125, 1138-1139

(9th Cir. 2006)(holding that the requirement of submitting identification and undergoing a search

                                                   8
  Case 3:19-cv-00219-M Document 16 Filed 04/29/19                   Page 9 of 11 PageID 301


in order to board a flight does not trigger the unconstitutional condition doctrine because plaintiff

has the option of leaving the airport without being searched.). The unconstitutional condition

doctrine does not apply because under no circumstance is Plaintiff subject to an unreasonable

search or otherwise required to waive its constitutional rights.

       Further, the application requirement is not a condition but rather a valid exercise of the

City’s police power. Other cities have seen far more burdensome conditions on rental properties

upheld as constitutionally valid. See, e.g., Wyman, 400 U.S. at 317-319; Platteville Area Apartment

Ass'n v. City of Platteville, 179 F.3d 574, 576-577, 582 (7th Cir. 1999)(city ordinance allowing

periodic searches of rental properties to assess compliance with city housing code held

constitutional); Rozman v. City of Columbia Heights, 268 F.3d 588 (8th Cir. 2001)(upholding

revocation of owner's rental license for failure to allow inspection of tenant-occupied apartments

as constitutionally valid.); see also, Yanke v. City of Delano, Minn., 171 Fed. Appx. 532 (8th Cir.

2006)(non-precedential) (holding that ordinance which imposed surcharge on property owners

who refused to obtain inspection by city or licensed plumber to verify the absence of prohibited

discharge into city sewer system did not implicate Fourth Amendment.); Mann v. Calumet City,

Ill., 588 F.3d 949, 951 (7th Cir. 2009) (“…ordinances such as this one are common and have

withstood constitutional attack in all cases that we know of in which the ordinance avoided

invalidation under the Fourth Amendment by requiring that the city's inspectors obtain a warrant

to inspect a house over the owner's objection.”). The City’s requirement that owners of rental

properties provide basic information in an application form does not require a waiver of Plaintiff’s

constitutional rights and Plaintiff fails to state a claim under the unconstitutional conditions

doctrine.



                                                 9
  Case 3:19-cv-00219-M Document 16 Filed 04/29/19                 Page 10 of 11 PageID 302


                                            PRAYER

       WHEREFORE, the City of Dallas respectfully asks the Court grant the City of Dallas’

motion to dismiss for failure to state a claim and dismiss Plaintiff’s claims against the City with

prejudice.

                                             Respectfully submitted,

                                             CITY ATTORNEY OF THE CITY OF DALLAS

                                             Christopher J. Caso
                                             Interim City Attorney

                                              s/ Charles A. Estee
                                             CHARLES A. “Cal” ESTEE
                                             Assistant City Attorney
                                             State Bar of Texas No. 24066522
                                             cal.estee@dallascityhall.com

                                             JUSTIN H. ROY
                                             Assistant City Attorney
                                             State Bar No. 24013428
                                             justin.roy@dallascityhall.com

                                             7BN Dallas City Hall
                                             1500 Marilla Street
                                             Dallas, Texas 75201
                                             Telephone – 214/670-3519
                                             Telecopier – 214/670-0622

                                             ATTORNEYS FOR DEFENDANT
                                             THE CITY OF DALLAS




                                                10
  Case 3:19-cv-00219-M Document 16 Filed 04/29/19                  Page 11 of 11 PageID 303




                                 CERTIFICATE OF SERVICE

       I certify that on April 29, 2019, I electronically filed the foregoing document with the clerk

of court for the United States District Court for the Northern District of Texas using the electronic

case failing system of the court. The electronic case filing system sent a “Notice of Electronic

Filing” to all counsel of record who have consented in writing to accept this Notice as service of

this document by electronic means.

                                              s/ Charles A. Estee
                                              CHARLES A. ESTEE




                                                 11
